                                UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF TENNESSEE
                                     NASHVILLE DIVISION

 STEPHEN HUGUELEY,                                )
                                                  )    CAPITAL CASE
         Plaintiff,                               )
                                                  )
 v.                                               )    NO. 3:11-cv-01115
                                                  )    JUDGE TRAUGER
 BILL HASLAM, et al.,                             )
                                                  )
         Defendants                               )

                                             ORDER
        The court reopened this matter on April 24, 2019, on the plaintiff’s pro se motion. (Doc.

No. 25.) In the same order, the court instructed the plaintiff’s previously appointed counsel, Paul

Davidson, to notify the court of his intentions regarding further representation of the plaintiff in

this case. (Id.) Counsel has now appeared and indicated that he is able to continue representing

the plaintiff. (Doc. No. 26.)

        The plaintiff, through his counsel, MUST file an amended complaint within 30 DAYS of

the entry of this order.

        The Clerk of Court is DIRECTED to provide a copy of this order to the plaintiff via First

Class mail.

        It is so ORDERED.

        ENTER this 6th day of May 2019.




                                                      ____________________________________
                                                      ALETA A. TRAUGER
                                                      UNITED STATES DISTRICT JUDGE




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